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               20-14574 MER
               20-14575 MER
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Case:20-14573-MER Doc#:85 Filed:10/23/20   Entered:10/23/20 08:53:49 Page5 of 22
Case:20-14573-MER Doc#:85 Filed:10/23/20   Entered:10/23/20 08:53:49 Page6 of 22
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Case:20-14573-MER Doc#:85 Filed:10/23/20   Entered:10/23/20 08:53:49 Page8 of 22
Case:20-14573-MER Doc#:85 Filed:10/23/20   Entered:10/23/20 08:53:49 Page9 of 22
Case:20-14573-MER Doc#:85 Filed:10/23/20   Entered:10/23/20 08:53:49 Page10 of 22
     Case:20-14573-MER Doc#:85 Filed:10/23/20                          Entered:10/23/20 08:53:49 Page11 of 22
                                                                              Statement Ending 07/31/2020
                                                                            CEC Development Borrower LLC              Page 1 of 4
                                                                            Account Number:XXXXXXXX7797


    RETURN SERVICE REQUESTED                                                  Managing Your Accounts
                                                                                                     Downtown Denver Banking
                                                                                    Branch
                                                                                                     Center
    CEC DEVELOPMENT BORROWER LLC                                                                     444 17th Street
                                                                                    Address
    CONTROLLED ACCOUNT                                                                               Denver, CO. 80202
    361 CENTENNIAL PKWY STE 300                                                     Phone            303-394-5100
    LOUISVILLE CO 80027-1288
                                                                                    Customer Care    1-866-433-0282

                                                                                    Online Banking   ANBbank.com




 Summary of Accounts
 Account Type                                                               Account Number                      Ending Balance
 Business Analysis                                                           XXXXXXXX7797                            $11,590.00


Business Analysis-XXXXXXXX7797
Account Summary
Date          Description                                        Amount
07/13/2020    Beginning Balance                                     $0.00
              4 Credit(s) This Period                         $853,032.49
              23 Debit(s) This Period                         $841,442.49
07/31/2020    Ending Balance                                   $11,590.00

Deposits
Date          Description                                                                                                Amount
07/15/2020    Wire In 41086207 BREVET DIRECT LENDING SHORT DURATIO                                                    $694,547.03
07/21/2020    Wire In 41200313 BREVET DIRECT LENDING SHORT DURATIO                                                    $145,937.91
07/28/2020    Wire In 41348530 BREVET DIRECT LENDING SHORT DURATIO                                                     $10,408.49

Electronic Credits
Date          Description                                                                                                 Amount
07/20/2020    Adjust transfers to actual spending of draw 1                                                              $2,139.06



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          FDIC


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CEC Development Borrower LLC                XXXXXXXX7797           Statement Ending 07/31/2020                        Page 2 of 4
       Case:20-14573-MER Doc#:85 Filed:10/23/20                    Entered:10/23/20 08:53:49 Page12 of 22

Business Analysis-XXXXXXXX7797                                 (continued)

Electronic Debits
Date           Description                                                                                               Amount
07/15/2020     ACH Single Payment Tracking ID 3137625                                                                   $3,000.00
07/15/2020     ACH Single Payment Tracking ID 3137629                                                                   $3,000.00
07/15/2020     401k draw for payroll                                                                                    $7,899.68
07/15/2020     Paycom draw for payroll processing                                                                     $139,524.43
07/16/2020     Postage software development                                                                               $696.84
07/16/2020     Internet Domain paid costs                                                                                 $919.69
07/16/2020     Infinisource benefits drawn on account                                                                   $1,471.84
07/16/2020     Swansea MA 1 land option extension                                                                       $2,000.00
07/16/2020     Lincoln ME 2 SISA                                                                                        $3,000.00
07/16/2020     Checks written for benefits and expense reimb                                                            $3,933.89
07/16/2020     Njevity software fee                                                                                     $5,214.50
07/16/2020     Reed and Miller contractor payments                                                                      $6,930.00
07/16/2020     Smartsheet willis infinisource achs                                                                      $8,331.72
07/16/2020     July rent for office                                                                                     $9,905.70
07/16/2020     Orange MA 1 Utility Study                                                                               $17,730.00
07/16/2020     Cigna invoice for July 20                                                                               $26,313.68
07/16/2020     ACH Single Payment Tracking ID 3138808                                                                 $300,000.00
07/20/2020     Adjustment of transfer to actual draw spend                                                                 $25.00
07/27/2020     Transfer for payroll                                                                                   $149,824.11
07/29/2020     Office expenses and postage on Draw 2                                                                      $165.75
07/29/2020     Reimb Infinisource expenses in Draw 2                                                                      $812.71
07/30/2020     Reimburse for approved Level 3 bill                                                                        $742.95

Other Debits
Date           Description                                                                                               Amount
07/16/2020     Wire Out 61869 WGWC, P.C. Trust Account                                                                $150,000.00

Daily Balances
Date                             Amount     Date                             Amount       Date                           Amount
07/15/2020                    $541,122.92   07/21/2020                    $152,727.03     07/29/2020                   $12,332.95
07/16/2020                      $4,675.06   07/27/2020                      $2,902.92     07/30/2020                   $11,590.00
07/20/2020                      $6,789.12   07/28/2020                     $13,311.41


Overdraft and Returned Item Fees
                                                               Total for this period                       Total year-to-date
   Total Overdraft Fees                                                          $0.00                                  $0.00
   Total Returned Item Fees                                                      $0.00                                  $0.00




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Case:20-14573-MER Doc#:85 Filed:10/23/20                                              Entered:10/23/20 08:53:49 Page13 of 22
                                                                                            Statement Ending 07/31/2020
                                                                                          CEC Development Borrower LLC                                  Page 3 of 4
                                                                                          Account Number:XXXXXXXX7797

                         This Form is Provided to Help You Balance Your Bank Statement
   Balance Shown on                                              Balance Shown in                                              BEFORE YOU START -
     Bank Statement $ _________________________                  Your Check Book $ _________________________
                                                                                                                      PLEASE BE SURE YOU HAVE ENTERED
               Add                                               Add Any Deposits                                     IN YOUR CHECK BOOK ALL AUTOMATIC
            Deposits $ _________________________                  and/or Transfers                                    TRANSACTIONS SHOWN ON THE
                                                                      Not Already                                     FRONT OF THE STATEMENT.
                       _________________________                   Entered in Your $ _________________________
                                                                                                                      YOU SHOULD HAVE ADDED
                                                                      Check Book
                                                                                                                      IF ANY OCCURRED:
                       _________________________                                     _________________________
                                                                                                                      1. Loan advances.
           Sub Total $ _________________________                                   _________________________          2. Credit memos.
                                                                                                                      3. Other automatic deposits.
SUBTRACT CHECKS ISSUED BUT NOT ON STATEMENT                                        _________________________
                                                                                                                      YOU SHOULD HAVE SUBTRACTED
CHECK NUMBER       AMOUNT      CHECK NUMBER       AMOUNT                           _________________________          IF ANY OCCURRED:

                                                                        Sub Total $ _________________________         1. Automatic loan payments.
                                                                                                                      2. Automatic savings transfers.
                                                                  Subtract Service                                    3. Service charges.
                                                                   Charges, Other                                     4. Debit memos.
                                                                   Bank Charges,                                      5. Other automatic deductions
                                                                and Any Automatic                                        and payments.
                                                                  Payments Not in
                                                                      Check Book $ _________________________

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                                  WHAT TO DO IF YOU THINK YOU FOUND A MISTAKE ON YOUR LOAN STATEMENT
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CEC Development Borrower LLC       XXXXXXXX7797       Statement Ending 07/31/2020                 Page 4 of 4
     Case:20-14573-MER Doc#:85 Filed:10/23/20         Entered:10/23/20 08:53:49 Page14 of 22




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     Case:20-14573-MER Doc#:85 Filed:10/23/20                    Entered:10/23/20 08:53:49 Page15 of 22
                                                                        Statement Ending 07/31/2020
                                                                      CEC Development Borrower LLC              Page 1 of 4
                                                                      Account Number:XXXXXXXX3465


    RETURN SERVICE REQUESTED                                            Managing Your Accounts
                                                                                               Downtown Denver Banking
                                                                              Branch
                                                                                               Center
    CEC DEVELOPMENT BORROWER LLC                                                               444 17th Street
                                                                              Address
    363 CENTENNIAL PKWY STE 300                                                                Denver, CO. 80202
    LOUISVILLE CO 80027-1731                                                  Phone            303-394-5100

                                                                              Customer Care    1-866-433-0282

                                                                              Online Banking   ANBbank.com




 Summary of Accounts
 Account Type                                                         Account Number                      Ending Balance
 Business Analysis                                                     XXXXXXXX3465                              $879.98


Business Analysis-XXXXXXXX3465
Account Summary
Date          Description                                  Amount
07/01/2020    Beginning Balance                             $894.68
              1 Credit(s) This Period                   $146,753.08
              2 Debit(s) This Period                    $146,767.78
07/31/2020    Ending Balance                                $879.98

Deposits
Date          Description                                                                                          Amount
07/01/2020    Wire In 40823892 NAVISUN LLC39 GRACE STNEW CANAAN CT                                              $146,753.08

Electronic Debits
Date          Description                                                                                          Amount
07/01/2020    Navisun proceeds for Freetown Rochester                                                           $146,753.08




         Member          Thank you for choosing ANB Bank as your source for banking!                      ANBbank.com
          FDIC


       98B8746D303C7843A9C927073BA5F457                     20200731              Checking Account Statements
CEC Development Borrower LLC                XXXXXXXX3465       Statement Ending 07/31/2020                     Page 2 of 4
       Case:20-14573-MER Doc#:85 Filed:10/23/20                Entered:10/23/20 08:53:49 Page16 of 22

Business Analysis-XXXXXXXX3465                             (continued)

Other Debits
Date           Description                                                                                       Amount
07/15/2020     Analysis Charges June 2020                                                                         $14.70

Daily Balances
Date                            Amount      Date                      Amount
07/01/2020                       $894.68    07/15/2020                 $879.98


Overdraft and Returned Item Fees
                                                           Total for this period                    Total year-to-date
   Total Overdraft Fees                                                   $0.00                                  $0.00
   Total Returned Item Fees                                               $0.00                                  $0.00




        98B8746D303C7843A9C927073BA5F457                   20200731              Checking Account Statements
Case:20-14573-MER Doc#:85 Filed:10/23/20                                              Entered:10/23/20 08:53:49 Page17 of 22
                                                                                            Statement Ending 07/31/2020
                                                                                          CEC Development Borrower LLC                                  Page 3 of 4
                                                                                          Account Number:XXXXXXXX3465

                         This Form is Provided to Help You Balance Your Bank Statement
   Balance Shown on                                              Balance Shown in                                              BEFORE YOU START -
     Bank Statement $ _________________________                  Your Check Book $ _________________________
                                                                                                                      PLEASE BE SURE YOU HAVE ENTERED
               Add                                               Add Any Deposits                                     IN YOUR CHECK BOOK ALL AUTOMATIC
            Deposits $ _________________________                  and/or Transfers                                    TRANSACTIONS SHOWN ON THE
                                                                      Not Already                                     FRONT OF THE STATEMENT.
                       _________________________                   Entered in Your $ _________________________
                                                                                                                      YOU SHOULD HAVE ADDED
                                                                      Check Book
                                                                                                                      IF ANY OCCURRED:
                       _________________________                                     _________________________
                                                                                                                      1. Loan advances.
           Sub Total $ _________________________                                   _________________________          2. Credit memos.
                                                                                                                      3. Other automatic deposits.
SUBTRACT CHECKS ISSUED BUT NOT ON STATEMENT                                        _________________________
                                                                                                                      YOU SHOULD HAVE SUBTRACTED
CHECK NUMBER       AMOUNT      CHECK NUMBER       AMOUNT                           _________________________          IF ANY OCCURRED:

                                                                        Sub Total $ _________________________         1. Automatic loan payments.
                                                                                                                      2. Automatic savings transfers.
                                                                  Subtract Service                                    3. Service charges.
                                                                   Charges, Other                                     4. Debit memos.
                                                                   Bank Charges,                                      5. Other automatic deductions
                                                                and Any Automatic                                        and payments.
                                                                  Payments Not in
                                                                      Check Book $ _________________________

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                                 Total ... $___________________
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                                  WHAT TO DO IF YOU THINK YOU FOUND A MISTAKE ON YOUR LOAN STATEMENT
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CEC Development Borrower LLC       XXXXXXXX3465       Statement Ending 07/31/2020                 Page 4 of 4
     Case:20-14573-MER Doc#:85 Filed:10/23/20         Entered:10/23/20 08:53:49 Page18 of 22




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     Case:20-14573-MER Doc#:85 Filed:10/23/20                     Entered:10/23/20 08:53:49 Page19 of 22
                                                                      Statement Ending 07/31/2020
                                                                    CEC Renewable Assets                         Page 1 of 4
                                                                    Account Number:XXXXXXXX4825


    RETURN SERVICE REQUESTED                                          Managing Your Accounts
                                                                                               Downtown Denver Banking
                                                                            Branch
                                                                                               Center
    CEC RENEWABLE ASSETS                                                                       444 17th Street
                                                                            Address
    DEVELOPEMENT LLC                                                                           Denver, CO. 80202
    FIELD ACCOUNT                                                           Phone              303-394-5100
    361 CENTENNIAL PKWY STE 300
    LOUISVILLE CO 80027-1288
                                                                            Customer Care      1-866-433-0282

                                                                            Online Banking     ANBbank.com




 Summary of Accounts
 Account Type                                                       Account Number                         Ending Balance
 Business Choice                                                     XXXXXXXX4825                                 $300.00


Business Choice-XXXXXXXX4825
Account Summary
Date          Description                                Amount
07/01/2020    Beginning Balance                         $5,300.00
              1 Credit(s) This Period                  $17,730.00
              2 Debit(s) This Period                   $22,730.00
07/31/2020    Ending Balance                              $300.00

Electronic Credits
Date          Description                                                                                            Amount
07/14/2020    National Grid Study Fee Orange MA 1                                                                  $17,730.00

Checks Cleared
  Check Nbr          Date        Amount    Check Nbr       Date         Amount
        1028 07/16/2020        $5,000.00        1029 07/14/2020       $17,730.00
* Indicates skipped check number




         Member          Thank you for choosing ANB Bank as your source for banking!                       ANBbank.com
          FDIC


       5E1BB67931952A47A73A2186C595E6A6                    20200731                Checking Account Statements
CEC Renewable Assets                      XXXXXXXX4825         Statement Ending 07/31/2020                     Page 2 of 4
       Case:20-14573-MER Doc#:85 Filed:10/23/20                Entered:10/23/20 08:53:49 Page20 of 22

Business Choice-XXXXXXXX4825                             (continued)


Daily Balances
Date                          Amount      Date                         Amount
07/14/2020                    $5,300.00   07/16/2020                   $300.00


Overdraft and Returned Item Fees
                                                          Total for this period                     Total year-to-date
   Total Overdraft Fees                                                   $0.00                                  $0.00
   Total Returned Item Fees                                               $0.00                                  $0.00




        5E1BB67931952A47A73A2186C595E6A6                  20200731               Checking Account Statements
Case:20-14573-MER Doc#:85 Filed:10/23/20                                              Entered:10/23/20 08:53:49 Page21 of 22
                                                                                            Statement Ending 07/31/2020
                                                                                          CEC Renewable Assets                                          Page 3 of 4
                                                                                          Account Number:XXXXXXXX4825

                         This Form is Provided to Help You Balance Your Bank Statement
   Balance Shown on                                              Balance Shown in                                              BEFORE YOU START -
     Bank Statement $ _________________________                  Your Check Book $ _________________________
                                                                                                                      PLEASE BE SURE YOU HAVE ENTERED
               Add                                               Add Any Deposits                                     IN YOUR CHECK BOOK ALL AUTOMATIC
            Deposits $ _________________________                  and/or Transfers                                    TRANSACTIONS SHOWN ON THE
                                                                      Not Already                                     FRONT OF THE STATEMENT.
                       _________________________                   Entered in Your $ _________________________
                                                                                                                      YOU SHOULD HAVE ADDED
                                                                      Check Book
                                                                                                                      IF ANY OCCURRED:
                       _________________________                                     _________________________
                                                                                                                      1. Loan advances.
           Sub Total $ _________________________                                   _________________________          2. Credit memos.
                                                                                                                      3. Other automatic deposits.
SUBTRACT CHECKS ISSUED BUT NOT ON STATEMENT                                        _________________________
                                                                                                                      YOU SHOULD HAVE SUBTRACTED
CHECK NUMBER       AMOUNT      CHECK NUMBER       AMOUNT                           _________________________          IF ANY OCCURRED:

                                                                        Sub Total $ _________________________         1. Automatic loan payments.
                                                                                                                      2. Automatic savings transfers.
                                                                  Subtract Service                                    3. Service charges.
                                                                   Charges, Other                                     4. Debit memos.
                                                                   Bank Charges,                                      5. Other automatic deductions
                                                                and Any Automatic                                        and payments.
                                                                  Payments Not in
                                                                      Check Book $ _________________________

                                                                                   _________________________

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                                 Total ... $___________________
                                                              _______      Total ... $_________________________


                                 Total ... $___________________
                                                              _______      Total ... $_________________________

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                                  WHAT TO DO IF YOU THINK YOU FOUND A MISTAKE ON YOUR LOAN STATEMENT
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